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          OR\G\NAL
UNITED STATES DIS TRI CT COURT
SOUTHERN DISTRICT OF NEW YORK
 - - - - - - - - - - - - - - - -       X

 UNITED STATES OF AMERICA
                                           SEALED INDICTMENT
           - v. -
                                           21 Cr .
 DILLON JORDAN ,
    a/k/a Daniel Jordan,
    a/k/a Daniel Maur i ce Hatton,
    a/k/a Daniel Bohler,
                                            2 CRIM 42
                 Defendant .

- - - - - - - - - - - - - - - -        X

                              COUNT ONE
                (Conspiracy to Violate the Mann Act)

           The Grand Jury charges :

     1.    At all times relevant to this Indictment, DILLON

JORDAN, a/k/a Daniel Jordan , a/k/a Daniel Maurice Hatton, a/k/a

Daniel Bohler , the defendant , operated a prostitution business

throughout the Un i ted States , including the Southern District of

New York , and abroad . To facilitate the prostitution business ,

JORDAN maintained a roster of women who resided around the

United States and who , in exchange for payment , performed sexual

acts for JORDAN's cl i ents at locations throughout the United

States , including the Southern District of New York , and abroad .

     2.    DILLON JORDAN , a/k/a Daniel Jordan , a/k/a Daniel

Maurice Hatton, a/k/a Daniel Bohler , the defendant , communicated

with the c lients of his prostitution business by email to

coordinate the prostitution services , which included sending
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photos to clients of women who were available for hire for

prostitution services , discussing the price of prostitution

services , and overseeing travel logistics for women to travel to

engage in prostitution. At times , JORDAN himself arranged the

interstate travel for the women to engage in prostitution, and

at other times clients, at JORDAN's direction, arranged the

interstate travel for the women whom JORDAN directed to those

clients. In addition, to facilitate his prostitution business,

JORDAN coordinated with a United Kingdom-based madam("CC-1") by

sharing and referring customers and prostitutes with CC-1 .

     3.   DILLON JORDAN, a/k/a Daniel Jordan , a/k/a Daniel

Maurice Hatton, a/k/a Daniel Bohler, the defendant, primarily

managed the finances of the prostitution busines through two

front companies incorporated in California, including a

purported party and event planning company ("Company-1") and

movie production company ("Company-2") . JORDAN opened multiple

bank accounts in the name of Company-1 and Company-2 , which he

used to accept cash, wire, and check payments for prostitution

services from clients and to pay for the expenses of the

prostitution business, including paying the women for their

prostitution services by cash and check. At times, JORDAN

further disguised the nature of the check payments made to the

women for their prostitution services by describing them as

modeling fees, appearances fees, consulting fees, massage

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therapy fees , and house party fees , among other things . By

depositing and causing others to deposit the proceeds of his

prostitution business into Company- 1 and Company-2 , JORDAN

ensured that transactions involving those proceeds would

disguise the nature , source , and origin of those funds.

                        Statutory Allegations

     4.   From at least in or about 2010 , up to and including at

least in or about May 2017 , in the Southern District of New York

and elsewhere , DILLON JORDAN , a/k/a Daniel Jordan , a/k/a Daniel

Maurice Hatton , a/k/a Daniel Bohler , the defendant , and others

known and unknown , willfully , and knowingly did combine ,

conspire , confederate , and agree together and with each toher to

commit an offense against the United States , to wit , to violate

Sections 2421 and 2422(a) of Title 18 , United States Code .

     5.   It was a part and an object of the conspiracy that

DI LLON JORDAN , a/k/a Daniel Jordan, a/k/a Daniel Maurice Hatton,

a/k/a Daniel Bohler , the defendant , and others known and

unknown , would and did knowingly transport individuals in

interstate and foreign commerce , with the intent that such

individuals engage in prostitution and in any sexual activity

for which a person can be charged with a criminal offense, in

violation of Title 18 , United States Code , Section 2421.

     6.   It was a further part and an object of the conspiracy

that DILLON JORDAN , a/k/a Daniel Jordan , a/k/a Daniel Maurice

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Hatton , a/k/a Daniel Bohler , the defendant , and others known and

unknown , would and did knowingly persuade , induce , entice , and

coerce individuals to travel in interstate and foreign commerce ,

to engage in prost i tution and in any sexual activity for which

any person can be charged with a criminal offense , in violation

of Title 18 , United States Code , Section 2422(a) .

                                   Overt Acts

      7.        In furtherance of the conspiracy and to effect the

illegal objects thereof , the following overt acts , among others ,

were committed in the Southern District o f New York and

e l sewhere :

                a.   On or about March 28, 2011 , DILLON JORDAN, a/k/a

Daniel Jordan , a/k/a Daniel Maurice Hatton , a/k/a Daniel Bohler,

the defendant , confirmed in an email to a client co - conspirator

not named as a defendant in this Indictment (" CC-2") that CC - 2

should deposit payment for prostitution services into a bank

account held by Company-1.

                b.   On or about December 15, 2011 , at JORDAN ' s

direction , CC - 2 booked a hotel in Manhattan and a flight from

California to New York for a victim ("Victim-1 " ) hired through

DILLON JORDAN, a/k/a Daniel Jordan , a/k/a Daniel Maurice Hatton ,

a/k/a Danie l Bohler , the defendant , for the purpose of engaging

in prostitution in Manhattan .




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            c.    On or about June 26 , 2016 , DILLON JORDAN , a/k/a

Daniel Jordan , a/k/a Daniel Maurice Hatton , a/k/a Daniel Bohler ,

the defendant , booked a flight from California to New York for a

victim (" Victim-2") to travel to New York for the purpose of

engaging in prostitution in Manhattan between on or about June

27 and 28 , 2016 .

            (Title 18 , United States Code , Section 371 . )

                                COUNT TWO
                               (Enticement)

           The Grand Jury further charges :

      8.    In or about December 2011, in the Southern District of

New York and e lsewh ere , DILLON JORDAN , a/k/a Daniel Jordan ,

a/k/a Daniel Maurice Hatton, a/k/a Daniel Bohler , the defendant ,

did knowingly persuade , induce , entice and coerce an individual

to travel in interstate and foreign commerce , with the intent

that the individual engage in prostitution, and in any sexual

activity for which a person can be charged with a criminal

offense , to wit , JORDAN recruited and directed Victim- 1 to

travel in interstate commerce to the Southern District of New

York , to engage in prostitution between in or about December 19

and 21 , 2011 .

      (Title 18 , United States Code , Sections 2422(a) and 2.)




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                            COUNT THREE
      (Use of Interstate Commerce to Promote Unlawful Activity)

               The Grand Jury further charges :

       9.      From at least in or about 2010 , up to and including at

least in or about May 2017, in the Southern District of New York

and elsewhere , DILLON JORDAN , a/k/a Daniel Jordan , a/k/a Daniel

Maurice Hatton , a/k/a Daniel Bohler, the defendant , did use and

cause to be used facilities in interstate and foreign commerce ,

with the intent to promote , manage, establish , carry on , and

facilitate the promotion , management, establishment , and

carrying on of an unlawful activity , and thereafter performed

and attempted to perform an act to promote , manage , establish

and carry on , and to facilitate the promotion , management,

establishment and carrying on of such unlawful activity , to wit ,

JORDAN used email and the Internet to promote , manage ,

establish , and carry on a criminal business enterprise engaged

in promoting prostition, in violation of New York Penal Law

§§   230 . 20 and 230 .25.

     (Title 18 , United States Code , Sections 1952 (a) (3) and 2 . )

                                  COUNT FOUR
                        (Concealment Money Laundering)

               The Grand Jury further charges :

       10 .    From at least in or about 201D , up to and including at

least in or about May 2017, in the Southern District of New York

and elsewhere , DILLON JORDAN, a/k/a Daniel Jordan , a/k/a Daniel

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Maurice Hatton , a/k/a Daniel Bohler , the defendant , knowing that

the property invol~ed in certain financial transactions , to wit

cash transactions , wire transfers , and check payments ,

represented the proceeds of some form of unlawful activity ,

would and d i d conduct and attempt to conduct such financial

transactions , which in fact involved the proceeds of specified

unlawful activity as defined in Title 18 , United States Code ,

Section 1956 (c) (7) (A) , to wit , transportation for illegal sexual

activity , in vio l ation of Title 18 , United States Code , Sections

2241 and 2242 , and use of interstate commerce to promote

unlawful activity , in violation of Title 18 , United States Code ,

Section 1952 , knowing that the transactions were designed in

whole and in part to conceal and disguise the nature , the

location , the source , the ownership , and the control of the

proceeds of specified unlawful activity.

(Title 18 , United States Code , Sections 1956 (a) (1) (B) (i) and 2 . )

                        FORFEITURE ALLEGATIONS

     11 .   As a result of committing the offenses alleged in

Counts One and Two of this Indictment , DILLON JORDAN , a/k/a

Daniel Jordan , a/k/a Daniel Maurice Hatton , a/k/a Daniel Bohler ,

the defendant , shall forfeit to the United States , pursuant to

Title 18 , United States Code , Section 2428 , any and all

property , real and personal, constituting or derived from

proceeds obtained , directly or indirectly , as a result of said

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offense ; and any and all property , real or personal , that was

used or intended to be used to commit or facilitation the

commission of said offense , including but not limited to a sum

of money in United States currency representing the amount of

property involved in said offense and proceeds traceable to the

commission of said offe n se .

    12 .   As a result of committing the offense alleged in Count

Three of this Indictment , DILLON JORDAN , a/k/a Daniel Jordan ,

a/k/a Daniel Maurice Hatton , a/k/a Daniel Bohler , the defendant ,

shall forfeit to the United States , pursuant to Title 18 , United

States Code , Section 981 (a) (1) (C) and Title 28 , United States

Code , Section 246l(c) , any and all property , real or personal ,

constituting or derived from any proceeds traceable to the

commission of said offense .

    13.    As a result of committing the offense alleged in Count

Four of this Indictment , DILLON JORDAN , a/k/a Daniel Jordan ,

a/k/a Daniel Maurice Hatton , a/k/a Daniel Bohler , the defendant ,

shall forfeit to the United States, pursuant to Title 18, United

States Code , Section 982(a) (1) , any and all property , real and

personal , involved in said offense , or any property traceable to

such property , including but not limited to a sum of money in

United States currency representing the amount of property

involved in said offense .




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                         Substitute Asset Provision

        14.   If any of the above - described forfeitable property , as

    a result of any act or omission of the defendant :

                 (a) cannot be located upon the exercise of due

diligence ;

                 (b) has been transferred or sold to , or deposited

with , a third person ;

                 (c) has been placed beyond the jurisdiction of the

Court ;

                 (d) has been substantially diminished in value ; or

                 (e) has been commingled with other property which

cannot be subdivided without difficulty ;

it is the intent of the United States , pursuant to            21 U. S . C .

§    853(p) and 28 U. S.C.   §   2461(c) , to seek forfeiture of any

other property of the defendant up to the value of the above

forfeitable property.


      (Title 18, United States Code , Sections 981 , 982 , and 2428 ;
             Title 21 , United States Code , Section 853 ; and
              Title 28 , United States Code , Section 2461 . )




                                            United States Attorney




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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK


                       UNITED STATES OF AMERICA

                                     -   v.   -

                             DILLON JORDAN,

                         a/k/a Daniel Jordan,
                     a/k/a Daniel Maurice Hatton,
                         a/k/a Daniel Bohler,

                                Defendant.


                            SEALED INDICTMENT

                           21 Cr .

               (18 U.S.C . §§ 371 , 2422 (a) , 1952 (a) (3) ,
                      1956 (a) (1) (B) ( i) , and 2 . )

                            AUDREY STRAUSS
                        United States Attorney




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                                                           \) .,. \v1. J.
